                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                            CIVIL RIGHTS DIVISION
JOHN ANTHONY GENTRY, sui juris/pro se                 )
                                                      )
       Plaintiff                                      )
                                                      )      CASE NO. 3:17-0020
                         vs.                          )
                                                      )
THE STATE OF TENNESSEE;                               )
PAMELA ANDERSON TAYLOR;                               )
BRENTON HALL LANKFORD;                                )      JURY TRIAL DEMANDED(12)
SARAH RICHTER PERKY;                                  )
UNNAMED LIABILITY INSURANCE                           )
CARRIER(S); Et al                                     )
                                                      )
       Defendants                                     )

    PLAINTIFF’S NOTICE OF INTENT TO MOTION FOR COURT REVIEW OF
       MAGISTRATE’S DENIAL OF PLAINTIFF’S MOTION TO RECUSE
                         AND/OR DISQUALIFY
                                AND
   MOTION FOR DISTRICT COURT JUDGE’S DETERMINATION OF MATTERS
   DURING PENDANCY OF RECUSAL/DISQUALIFICATION DETERMINATION


       Comes now your Plaintiff, John Anthony Gentry, pro se, providing this Honorable Court

notice of his intent to seek Court Review of the Magistrate’s ORDER (Docket Entry 124), denying

“Plaintiff’s Motion To Recuse Disqualify Magistrate Judge” (Docket Entry 120). Pursuant to U.S.

District Court, M.D. Tenn. Local Rule 72.02(b)(1), Plaintiff will file a Motion for Court Review

on or before the 14-day time limitation set forth in Local Rule 72.02(b)(1).

       Plaintiff respectfully moves the Court to decide any matters pending during pendency of

the District Court Judge’s final ruling regarding the magistrate’s recusal denial. Plaintiff further




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respectfully suggests the magistrate should not issue any order during pendency of the District

Court Judge’s final decision.

WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAYS

       For the District Court Judge to decide all matters during pendency of final determination

of “Plaintiff’s Motion To Recuse Disqualify Magistrate Judge”;

       That the Magistrate Judge to not issue any orders or render any decisions during pendency

of final determination of “Plaintiff’s Motion To Recuse Disqualify Magistrate Judge”

                                            Respectfully submitted,

                                            s/ John Anthony Gentry
                                            John A Gentry, CPA, Pro Se
                                            208 Navajo Court,
                                            Goodlettsville, TN 37072
                                            (615) 351-2649
                                            john.a.gentry@comcast.net




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                           CERTIFICATE OF SERVICE

   I hereby certify that a true and exact copy of PLAINTIFF’S NOTICE OF INTENT TO
MOTION FOR COURT REVIEW OF MAGISTRATE’S DENIAL OF PLAINTIFF’S
MOTION TO RECUSE AND/OR DISQUALIFY AND MOTION FOR DISTRICT COURT
JUDGE’S      DETERMINATION           OF     MATTERS        DURING       PENDANCY         OF
RECUSAL/DISQUALIFICATION DETERMINATION was filed electronically, and notice
served through the electronic filing system on this the 20TH day of September 2017 to:

 Lauren Paxton Roberts                             William S. Walton
 Erika R. Barnes                                   Butler Snow, LLP
 Stites & Harbison                                 The Pinnacle at Symphony Place
 401 Commerce Street, Suite 800                    150 Third Avenue South
 Nashville, TN 37219                               Nashville, TN 37201
 lauren.roberts@stites.com                         bill.walton@butlersnow.com


 Stephanie A. Bergmeyer
 Office of the Atty. Gen. and Reporter
 P.O. Box 20207
 Nashville, TN 37202-0207
 Stephanie.bertmeyer@ag.tn.gov

                                                 s/ John Anthony Gentry
                                                 John Anthony Gentry, CPA




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